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12
13
                                 UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
                                    SAN FRANCISCO DIVISION
16
     Helene Cahen, Kerry J. Tompulis, and Merrill    Case No. 3:15-cv-01104-WHO
17   Nisam, Richard Gibbs, and Lucy L. Langdon,
     on Behalf of Themselves and All Others
18   Similarly Situated,                             FORD MOTOR COMPANY’S MOTION
                                                     TO DISMISS THE FIRST AMENDED
19                Plaintiffs,                        COMPLAINT AND SUPPORTING
                                                     MEMORANDUM OF POINTS AND
20   vs.                                             AUTHORITIES

21   Toyota Motor Corporation, Toyota Motor          Judge:   Hon. William H. Orrick
     Sales, U.S.A., Inc., Ford Motor Company,        Date:    November 3, 2015
22   General Motors LLC, and Does 1 through 50,      Time:    3:00 p.m.
                                                     Place:   Courtroom 2
23                Defendants.

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1    TO THE COURT AND ALL PARTIES AND COUNSEL OF RECORD:

2            PLEASE TAKE NOTICE that on November 3, 2015, at 3:00 p.m., or as soon thereafter

3    as it may be heard, in Courtroom 2 of this Court, located at 450 Golden Gate Avenue, San

4    Francisco, California, before the Honorable William H. Orrick, Defendant Ford Motor Company

5    (“Ford”) will and hereby does move the Court for an order dismissing all of the claims and causes

6    of action contained in the First Amended Complaint (“FAC”) of Plaintiff Kerry J. Tompulis and

7    Plaintiffs Richard Gibbs and Lucy L. Langdon (collectively, “Ford Plaintiffs”) pursuant to

8    Rule 12(b)(2), or, in the alternative, Rules 12(b)(1), 12(b)(3), and 12(b)(6), and 9(b) of the Federal

9    Rules of Civil Procedure. Ford brings this Motion on the following grounds:

10           (1)     The Court does not have general personal jurisdiction over Ford, a company

11   incorporated in Delaware with its principal place of business in Dearborn, Michigan.

12           (2)     The Court does not have specific personal jurisdiction over Ford. Ford did not

13   design or manufacture the Ford Plaintiffs’ vehicles in California and the claims at issue have no

14   connection with or to California.

15           (3)     This venue is not proper for this action pursuant to 28 U.S.C. § 1391. Plaintiff

16   Tompulis resides in Oregon and leased her car from a dealership there. (FAC ¶ 13.) Plaintiffs

17   Gibbs and Langdon reside and purchased their car in Washington. (FAC ¶ 15.) None of the

18   alleged events or omissions “giving rise to the claim[s]” occurred in this judicial district, and Ford

19   does not reside in this district.

20           Even if this Court concluded that this Court could properly exercise personal jurisdiction

21   over Ford for these claims and venue is proper, the complaint must still be dismissed.

22           (4)     The Ford Plaintiffs lack standing to bring claims under the Oregon Unlawful Trade

23   Practices Act (“UTPA”) and Washington’s Consumer Protection Act (“CPA”) because they do not

24   allege (and did not actually experience) an “ascertainable loss.”

25           (5)      The Ford Plaintiffs lack standing under Article III of the United States Constitution

26   because their purported “injury” rests on purely hypothetical, contingent, and conjectural

27   allegations of harm that could only result from the criminal acts of third parties. Plaintiffs’

28   allegations of some potential future alleged injuries are not the type of imminent, concrete, and

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1    particularized harms required for Article III standing.

2              Even were this Court to conclude that the Ford Plaintiffs have standing, the Ford Plaintiffs’

3    OTPA, CPA, and breach of implied warranty and fraud claims under Oregon and Washington still

4    fail.

5              (6)    Plaintiff Tompulis cannot establish an essential element of her Oregon UTPA claim

6    as a matter of law because she does not plead (and did not suffer) an ascertainable loss.

7              (7)    Plaintiffs Gibbs and Langdon cannot establish an essential element of their CPA

8    claim as a matter of law because they do not plead (and did not suffer) an ascertainable loss.

9              (8)    The Ford Plaintiffs cannot plausibly allege any claim for breach of implied

10   warranty under Oregon and Washington law because: (i) they are not in privity with Ford, having

11   purchased or leased their vehicles from third-party dealers; and, with respect to Plaintiff

12   Tompulis, (ii) she admits she did not provide notice of her claim prior to filing the lawsuit as

13   Oregon law requires.

14             (9)    The Ford Plaintiffs fail to state a claim for fraudulent concealment under Oregon or

15   Washington law, because they fail to satisfy Rule 9(b)’s heightened pleading standard applicable

16   to fraud claims.

17             (10)   The Ford Plaintiffs fail to state a claim because they seek to hold Ford liable under

18   state law for making their vehicles’ CAN bus systems reasonably accessible to third parties as

19   required by federal and state law.

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1                 STATEMENT OF ISSUES TO BE DECIDED PER CIVIL L.R. 7-4(A)(3)

2           I.       Whether the Court has jurisdiction over Ford where Ford is not incorporated in
3    California, does not maintain its principal place of business there, and none of the conduct alleged
4    by the Ford Plaintiffs occurred in California.
5           II.      Whether venue is improper because Plaintiff Tompulis resides in Oregon and leased
6    her car from a dealership there, Plaintiffs Gibbs and Langdon reside and purchased their car in
7    Washington, and none of the alleged events or omissions “giving rise to the claim[s]” occurred in
8    this judicial district, and Ford does not reside in California.
9           III.     Whether the Ford Plaintiffs lack standing to bring claims under the Oregon
10   Unlawful Trade Practices Act (“UTPA”) and Washington’s Consumer Protection Act (“CPA”)
11   because they do not allege (and did not actually experience) an “ascertainable loss.”
12          IV.      Whether Article III standing is conferred upon the Ford Plaintiffs based solely upon
13   allegations of theoretical, speculative harm which could only occur (if at all) if third parties
14   committed independent, criminal acts in the future, and where the Ford Plaintiffs fail to allege a
15   causal link between these future harmful third-party acts and Ford.
16          V.       Whether Plaintiff Tompulis can establish an essential element of her Oregon UTPA
17   claim where (as here) she does not plead (and did not suffer) an ascertainable loss.
18          VI.      Whether Plaintiffs Gibbs and Langdon can establish an essential element of their
19   CPA claim where (as here) they do not plead (and did not suffer) an ascertainable loss.
20          VII.     Whether the Ford Plaintiffs plausibly allege claims for breach of implied warranty
21   under Oregon and Washington law where they are not in privity with Ford, having purchased or
22   leased their vehicles from third-party dealers; and, with respect to Plaintiff Tompulis, she admits
23   she did not provide pre-suit notice of her claim as Oregon law requires.
24          VIII.    Whether the Ford Plaintiffs state claims for fraud under Oregon or Washington law
25   where they fail to satisfy Rule 9(b)’s heightened pleading standard applicable to fraud claims.
26          IX.      Whether Ford can be held liable for making its CAN bus system accessible to third
27   parties where federal and state laws require it to do so.
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1                                              INTRODUCTION

2             Plaintiff Kerry J. Tompulis (an Oregon resident who leased a new Ford Escape in 2014) and
3    Plaintiffs Richard Gibbs and Lucy L. Langdon (Washington residents who co-own their vehicle, a
4    used 2013 Ford Fusion) (Tompulis, Langdon and Gibbs collectively referred to throughout as “Ford
5    Plaintiffs”) assert that the controller area network (CAN) bus units (also known as “CAN bus
6    systems”) in their vehicles are “susceptible to hacking and [are] therefore unreasonably dangerous.”
7    (First Amended Complaint (“FAC”) ¶ 2.) A CAN bus is a diagnostic and repair information system
8    implemented in motor vehicles to allow communication between and among the vehicle’s electronic
9    control units (“ECUs”). (See FAC ¶¶ 3, 28.)1 For well over a decade, all vehicles have had some
10   form of CAN bus system and motor vehicle manufacturers (“OEMs”) are legally required to make
11   CAN bus units reasonably accessible to third parties. Here, however, and based on nothing more
12   than a conclusory allegation that CAN bus systems in Ford vehicles manufactured since at least 2007
13   are “defective,” the Ford Plaintiffs assert numerous causes of action against Ford Motor Company
14   (“Ford”) on behalf of themselves and two proposed classes for purported violations of Oregon and
15   Washington consumer protection statutes and state common law. (Id. ¶¶ 139-200.) These claims are
16   entirely separate and distinct from the claims asserted by the other plaintiffs in this lawsuit.2
17            The Ford Plaintiffs’ claims are legally infirm and cannot proceed in this Court. First, the
18   claims must be dismissed because this Court lacks both general and specific personal jurisdiction
19   over Ford, and venue is also improper. Ford is incorporated in Delaware, and maintains its principal
20   place of business in Dearborn, Michigan. (FAC ¶ 22) Moreover, the Ford Plaintiffs have failed to
21   plead that any of Ford’s alleged conduct giving rise to their claims occurred in California (and,
22   indeed, it did not). (Id. at passim). Plaintiffs are not even residents of California and did not
23   purchase or lease their cars in California. (Id.) Accordingly, general and specific personal
24   1
       The CAN bus is a mandatory feature that comes standard on cars and certain other vehicles, and
25   provides diagnostic information to facilitate vehicle repair. See, e.g., CAL. CODE REGS. tit. 13, §
     1968.2; OR. ADMIN. R. 340-257-0050.
26   2
       The other Plaintiffs in this case (residents of California) purchased vehicles made by Toyota and
     General Motors (collectively, “Toyota and GM Plaintiffs,”) and, thus, do not (and cannot) assert
27   claims against Ford. (See FAC ¶¶ 12-14.). The status of the Toyota and GM Plaintiffs has no
     bearing on whether the Ford Plaintiffs have brought their claims in the proper Court (they have not).
28   See n. 4 infra.


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1    jurisdiction over Ford are both lacking, and Plaintiffs’ claims against Ford must be dismissed under

2    Federal Rule of Civil Procedure 12(b)(2) and/or 12(b)(3). See Daimler AG v. Bauman, 134 S. Ct.

3    746, 760-762 (2014); see also Stroud v. Tyson Foods, Inc., No. 14-CV-3281, 2015 WL 1034452 at

4    *5-6 (E.D.N.Y. Mar. 10, 2015).

5           Second, even if Ford were subject to jurisdiction in California and venue was proper, and it is

6    not, the Ford Plaintiffs lack standing to pursue their claims. For example, because the Ford Plaintiffs

7    have suffered no “ascertainable loss” from their vehicle’s alleged “defect” (their vehicles have never

8    been hacked and the Ford Plaintiffs do not allege that their vehicles have failed to perform as

9    intended), they cannot satisfy a necessary element of the Oregon Unlawful Trade Practices Act

10   (“UTPA”) and Washington’s Consumer Protection Act (“CPA”). See Paul v. Providence Health

11   Sys.-Oregon, 240 P.3d 1110 (Or. Ct. App. 2010); Browne v. Avvo, Inc., 525 F. Supp. 2d 1249 (W.D.

12   Wash. 2007). Plaintiffs’ described “injury” – “the computer technology [i.e., CAN bus] in the cars

13   is exposed to the dangers of being hacked” (FAC ¶1 (emphasis supplied)) – is not the kind of

14   imminent, concrete and particularized harm required for Article III standing. In truth, simply by

15   virtue of being operational, all computer technology in existence is “exposed to the dangers” of

16   hacking, just as all wallets are “exposed to the dangers” of being stolen when carried, and all tires

17   are “exposed to the dangers” of being punctured when driven on the road. But that doesn’t make the

18   computer technology, wallets or tires inherently defective or “not safe.”

19          Third, the Ford Plaintiffs’ claims should be dismissed because they are not viable under

20   Federal Rules 8, 9 and/or 12(b)(6). The Ford Plaintiffs’ breach of implied warranty claims under

21   Oregon and Washington law also fail because the Ford Plaintiffs fail to allege that they were in

22   privity with Ford when they purchased/leased their vehicles (and, in fact, they were not, because

23   Ford does not sell or lease vehicles directly to consumers; rather, Ford sells to authorized,

24   independent dealers (who are not Ford) and they, in turn, sell and lease vehicles to consumers). See

25   Colvin v. FMC Corp., 604 P.2d 157, 160 (Or. Ct. App. 1979); Babb v. Regal Marine Indus., Inc.,

26   186 Wash. App. 1003 (Wash. Ct. App. 2015). Additionally, the Ford Plaintiffs do not plead

27   fraudulent concealment under either Oregon or Washington law with the specificity required by

28   Federal Rule of Civil Procedure 9(b). See Kearns v. Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir.

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1    2009).

2              Finally, the Ford Plaintiffs’ claims should be dismissed because they directly conflict with

3    federal law and the laws of states that obligate Ford to make vehicles’ CAN bus systems readily

4    accessible to third parties. As a practical matter (and as the law requires), CAN bus units must be

5    reasonably accessible so (among other reasons) the vehicles can be diagnosed and repaired. In the

6    FAC, the Ford Plaintiffs claim the fact that the CAN bus system is accessible at all is somehow

7    indicia of defect, but that cannot form the basis of a claim, as federal and state laws require motor

8    vehicle manufacturers to make their CAN bus systems reasonably available to third parties.

9              In short, all of the claims against Ford should be dismissed.3

10                                              ARGUMENT

11   I.        THE COURT CANNOT EXERCISE PERSONAL JURISDICTION OVER FORD
12             This Court need not delve further into this case than to dismiss it for lack of personal
13   jurisdiction over Ford. Because Ford is neither headquartered nor incorporated in California, this
14   Court does not have general personal jurisdiction over Ford. Moreover, because the Ford Plaintiffs’
15   claims do not arise out of Ford’s California-related activities, the Court does not have specific
16   personal jurisdiction over Ford either. Consequently, the Ford Plaintiffs’ claims against Ford must
17   be dismissed, Martinez v. Aero Caribbean, 764 F.3d 1062, 1066 (9th Cir. 2014).4
18             Where a defendant moves to dismiss a complaint for lack of personal jurisdiction pursuant to
19
20   3
       In this motion, Ford addresses the infirmities of the Ford Plaintiffs’ pleading pursuant to Fed. R.
     Civ. P. 8, 9 and 12 unique to it. The Ford Plaintiffs’ claims against Ford are not viable for reasons
21   stated herein, but in an abundance of caution, Ford expressly reserves the right to raise other,
     potentially-dispositive defenses to the Ford Plaintiffs’ claims (including arbitration) should they
22   elect to refile their lawsuit in a forum in which Ford is subject to personal jurisdiction.
     4
       Ford respectfully submits in the alternative that the Ford Plaintiffs’ claims also should be dismissed
23   pursuant to Rule 12(b)(3) and 28 U.S.C. § 1391 for improper venue. Plaintiff Tompulis resides in
     Oregon and leases her car from a dealership there. (FAC ¶ 13.) Plaintiffs Gibbs and Langdon reside
24   and purchased their car in Washington. (FAC ¶ 15.) None of the alleged events or omissions
     “giving rise to the claim[s]” occurred in this judicial district, and Ford does not reside in this district.
25   See generally Declaration of Elizabeth Dwyer (“Dwyer Decl.”), Exhibit 1 hereto, at passim;
     Declaration of Bill Pappas (“Pappas Decl.”), Exhibit 2 hereto, at passim. None of the other plaintiffs
26   (who are residents of California) have any claims against Ford. See generally FAC at passim.
     Accordingly, the claims against Ford should be dismissed. See Porche v. Pilot & Associates, Inc.,
27   319 Fed.Appx. 619 (9th Cir. 2009) (affirming dismissal of lawsuit where venue was improper);
     Monaghan v. Fiddler, No. C11-3278 CW, 2011 WL 4984710 (N.D. Cal. 2011) (dismissing action
28   where Northern District of California was improper venue).
                                                         3
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1    Rule 12(b)(2), “Plaintiffs bear the burden of showing that the Court has personal jurisdiction over

2    Defendants,” and must make “a prima facie showing of jurisdictional facts to withstand the motion

3    to dismiss.” Amiri v. DynCorp Int’l, Inc., No. 14-CV-03333, 2015 WL 166910, at *1 (N.D. Cal. Jan.

4    13, 2015) (quotations and citation omitted); Picot v. Weston, 780 F.3d 1206, 1211 (9th Cir. 2015)

5    (“[T]he plaintiff bears the burden of demonstrating that jurisdiction is appropriate.”) (quotation

6    omitted).5 For the reasons set forth below, the Ford Plaintiffs cannot meet this burden.

7             A.     The Ford Plaintiffs Cannot Establish That This Court Can Exercise General
                     Personal Jurisdiction Over Ford
8
              “General jurisdiction over a corporation is appropriate only when the corporation’s contacts
9
     with the forum state ‘are so constant and pervasive as to render it essentially at home’ in the state.”
10
     Martinez, 764 F.3d at 1066 (quoting Daimler, 134 S. Ct. at 755. As the Supreme Court recently
11
     clarified, this test generally is only met when a lawsuit is brought in the jurisdiction in which a
12
     defendant (1) is incorporated or (2) maintains its principal place of business. Daimler, 134 S. Ct. at
13
     761, n.19; accord Martinez, 764 F.3d at 1070.6
14
              In support of jurisdiction, the Ford Plaintiffs allege only that Ford “manufactured, sold,
15
     leased, and warranted the Ford Vehicles . . . throughout the United States.” (FAC ¶ 23.) These
16
     facts, even if true, do not render Ford “at home” in California, and do not even begin to satisfy the
17
     Supreme Court’s “rigorous test.” Daimler, 134 S. Ct. at 751, 757. Indeed, the Supreme Court in
18
     Daimler found that this Court did not have general jurisdiction over a vehicle manufacturer
19
     analogous to Ford, one who “distributes . . . vehicles to independent dealerships throughout the
20
     United States, including California.” Id. at 751. As the Court explained, “[a]lthough the placement
21
22   5
       Where, as here, no federal statute governs personal jurisdiction, a district court applies the long-
23   arm statute of the state in which it sits. Boschetto v. Hansing, 539 F.3d 1011, 1015 (9th Cir. 2008).
     California’s long-arm statute permits a court to exercise personal jurisdiction where doing so
24   comports with federal constitutional due process. Id.; Cal. Code Civ. P. § 410.10.
     6
       Although Daimler allowed that there could be an “exceptional case” where a company has
25   operations “so substantial and of such a nature as to render the corporation at home” in a jurisdiction,
     134 S. Ct. at 761 n.19, this Court has recognized that “[t]he bar for such a finding is very high.”
26   Amiri, 2015 WL 166910, at *2. Accordingly, “outside a corporation’s place of incorporation or
     principal place of business” general personal jurisdiction “is rarely satisfied.” Id. (emphasis
27   supplied). Plaintiffs do not allege any facts suggesting that Ford’s California activities “approach
     th[is] level.” Daimler, 134 S. Ct. at 761 n.19. And indeed, Ford’s activities do not. See generally
28   Dwyer Decl., Exhibit 1 hereto, at passim; Pappas Decl., Exhibit 2 hereto, at passim.
                                                       4
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1    of a product into the stream of commerce ‘may bolster an affiliation germane to specific

2    jurisdiction,’ . . . such contacts ‘do not warrant a determination that, based on those ties, the forum

3    has general jurisdiction over a defendant.’” Id. at 757 (quoting Goodyear Dunlop Tires Operations,

4    S.A. v. Brown, 131 S.Ct. 2846, 2857 (2011) (emphasis in original). Plaintiffs do not (and cannot)

5    plead any facts suggesting Ford is different.

6           Moreover, in Daimler, even though: (1) the foreign defendant’s subsidiary (whose California

7    contacts were imputed to defendant for purposes of the Court’s analysis, 134 S. Ct. at 749) “ha[d]

8    multiple California-based facilities, including a regional office in Costa Mesa, a Vehicle Preparation

9    Center in Carson, and a Class Center in Irvine”; (id. at 752) and (2) the subsidiary was “the largest

10   supplier of luxury vehicles to the California market, . . . account[ing] for 2.4% of [defendant’s]

11   worldwide sales” (id.), the Court held that the Northern District of California lacked general personal

12   jurisdiction over defendant, recognizing that

13           [i]f [defendant’s] activities sufficed to allow adjudication of this [foreign]-rooted case
             in California, the same global reach would presumably be available in every other
14           State in which [defendant’s subsidiary’s] sales are sizable. Such exorbitant exercises
             of all-purpose jurisdiction would scarcely permit out-of-state defendants ‘to structure
15           their primary conduct with some minimum assurance as to where that conduct will
             and will not render them liable to suit.’
16   Id. at 761-62 (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985)).
17   Such a result, the Court determined, would stretch beyond the bounds of general jurisdiction, which

18   instead “calls for an appraisal of a corporation’s activities in their entirety, nationwide and

19   worldwide. A corporation that operates in many places can scarcely be deemed at home in all of

20   them.” Id. at 762 n.20; Martinez, 764 F.3d at 1066; Amiri, 2015 WL 166910, at *1. Similarly, in

21   Martinez, the Ninth Circuit found no general jurisdiction over a foreign defendant corporation that

22   had “contracts, worth between $225 and $450 million, to sell airplanes to . . . a California

23   corporation;” “contracts with eleven California component suppliers;” representatives in the state

24   that attended industry conferences, promoted defendant’s products, and met with suppliers; deployed

25   airplanes in California routes; and “advertis[ed] in trade publications with distribution in California.”

26   764 F.3d at 1070. Relying on Daimler, the court held that “[t]hese contacts are plainly insufficient

27   to subject [defendant] to general jurisdiction in California,” because “its California contacts are

28   minor compared to its other worldwide contacts.” Id. (citing Daimler, 134 S. Ct. at 762 n.20). In

                                                       5
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1    addition, in Amiri, this Court recognized no jurisdiction over a foreign defendant that had “a

2    contract . . . worth between $46.6 million and $176.9 million . . . for aircraft maintenance and

3    support split between four facilities, one of which is located in California,” “a $9,643,087 contract . .

4    . with 16 percent of the work to be performed . . . [in] California,” “239 employees [out of 13,350

5    worldwide] who reside in California,” and “registration with the Secretary of State to do business in

6    California.” 2015 WL 166910, at *4. When “[c]onsidering [defendants’] activities ‘in their entirety,

7    nationwide and worldwide,’ [the Court held that] none of the . . . entities can be deemed ‘at home’ in

8    California.” Id. (quoting Daimler, 134 S. Ct. at 762 n.20).

9           Like defendants in Daimler, Martinez, and Amiri, Ford is a global company with significant

10   sales throughout the world. (See FAC ¶ 23. In addition, Ford is a Delaware corporation with

11   headquarters in Michigan. (Id. at ¶ 22.) Plaintiffs plead no facts that would make general

12   jurisdiction in California proper, and this Court should so hold. Tyson Foods, Inc., 2015 WL

13   1034452 at *5-6 (corporate defendant incorporated in Delaware with principal place of business in

14   Arkansas not “at home” in New York even though its “alter ego” operated a manufacturing plant in

15   Buffalo, New York; court thus “lack[ed] authority to exercise general jurisdiction over” defendant).

16          B.      The Ford Plaintiffs Cannot Establish That The Court Has Specific Personal
                    Jurisdiction Over Ford
17
            Plaintiffs have also failed to establish that this Court has specific jurisdiction over Ford. The
18
     Ninth Circuit analyzes specific jurisdiction under a three-pronged test:
19
            (1) The non-resident defendant must purposefully direct his activities or consummate
20          some transaction with the forum or resident thereof; or perform some act by which he
            purposefully avails himself of the privilege of conducting activities in the forum,
21          thereby invoking the benefits and protections of its laws; (2) the claim must be one
            which arises out of or relates to the defendant's forum related activities; and (3) the
22          exercise of jurisdiction must comport with fair play and substantial justice, i.e., it
            must be reasonable.
23
     Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004); see also Burger King
24
     Corp., 471 U.S. at 475-76. The plaintiffs bear the burden of satisfying the first two prongs, and if
25
     either of these prongs is not satisfied, personal jurisdiction cannot be established. Schwarzenegger,
26
     374 F.3d at 802.
27
28
                                                       6
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1                   1.      The Ford Plaintiffs Do Not Allege That Ford Purposefully Availed Itself
                            of The Forum Or Purposefully Directed Its Activities At The Forum
2
            Plaintiffs, who are Oregon and Washington residents who purchased or leased their vehicles
3
     in those states, fail to allege that their claims are grounded in any activities Ford purposefully
4
     directed at California, because no such activities exist. See Pappas Decl., Ex. 2 hereto, at passim;
5
     Dwyer Decl., Ex. 1 hereto, at passim. In Walden v. Fiore, the Supreme Court clarified that the
6
     purposeful availment test requires a court to look to the defendant’s suit-related contacts with the
7
     forum. 134 S.Ct. 1115, 1122 (2014). Walden underscores the longstanding principle that “for a
8
     State to exercise jurisdiction consistent with due process, the defendant’s suit related conduct must
9
     create a substantial connection with the forum-State.” Id. at 1121.
10
            Here, the Ford Plaintiffs’ claims arise from the allegedly defective CAN bus units in their
11
     vehicles and alleged deficiencies in Ford’s disclosures to consumers in Oregon and Washington vis-
12
     à-vis the sale, marketing, distribution and warranties of those cars. But Plaintiffs have not alleged
13
     California is where Ford designed, manufactured and installed the allegedly defective CAN bus units
14
     in their vehicles, nor could they, because Ford designed and manufactured the vehicles (including
15
     installing the CAN bus systems) elsewhere. Pappas Decl. ¶ 3-5; Dwyer Decl. ¶¶ 4-5. In point of
16
     fact, neither of the Ford Plaintiffs’ vehicles has any connection to or with California. The 2014 Ford
17
     Escape Ms. Tompulis leased was manufactured at Ford’s Louisville, Kentucky Assembly Plant in
18
     Louisville, Kentucky. Dwyer Decl. ¶¶ 4. The vehicle was then sold by Ford to Landmark Ford
19
     Lincoln in Oregon. Id. The 2013 Ford Fusion Richard Gibbs and Lucy L. Langdon purchased used
20
     was manufactured at Ford’s Hermosillo Stamping and Assembly Plant in Sonora, Mexico. Id. ¶¶ 5.
21
     Ford then sold the vehicle to Sound Ford in Washington. Id. The warranties, owner manuals and
22
     other “glove box” documents are disseminated with new vehicles at point of sale, and are also online
23
     at Ford’s website. Dwyer Decl. ¶ 6 and Ex. A. Ford’s website is administered from Michigan. See
24
     http://corporate.ford.com/legal/terms-and-conditions.html (last visited Aug. 27, 2015). In fact,
25
     Plaintiffs allege no facts connecting any Ford activity to California, let alone any “suit-related
26
     conduct…[that] create[s] a substantial connection” with California. Walden, 134 S.Ct. at 1121.
27
28
                                                       7
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1                    2.      The Ford Plaintiffs’ Claims Do Not Arise Out Of Ford’s Contacts With
                             California
2
              To establish the causation element, the Ninth Circuit applies a “but for” analysis. Terracom
3
     v. Valley Nat’l Bank, 49 F.3d 555, 561 (9th Cir. 1995); Glencore Grain Rotterdam B.V. v. Shivnath
4
     Rai Harnarain Co., 284 F.3d 1114, 1123 (9th Cir. 2002) (“We apply a ‘but for’ test to assess
5
     whether [the plaintiff]’s claims ‘arise out of’ [the defendant]’s forum conduct: [The plaintiff] must
6
     show that it would not have been injured ‘but for’ [the defendant]’s contacts with California.”).
7
              The Ford Plaintiffs’ claims against Ford have no connection whatsoever to California.
8
     Plaintiff Tompulis leased and drives her 2014 Ford Escape in Oregon (FAC ¶ 13), and the Escape
9
     was first sold to an independent Ford dealership in Oregon.7 Dwyer Decl. ¶ 4. Plaintiffs Gibbs and
10
     Langdon purchased and drive their used 2013 Ford Fusion in Washington (FAC ¶ 15), and the
11
     Fusion was first sold to an independent Ford dealership in Washington. Dwyer Decl. ¶ 5.
12
              Moreover, Plaintiffs do not and cannot allege that the allegedly defective CAN bus units, let
13
     alone Plaintiffs’ vehicles, have any nexus to California. In fact, as noted above, Tompulis’s Escape
14
     was manufactured in Louisville, Kentucky, and Gibbs/Langdon’s Fusion was manufactured in
15
     Mexico. Dwyer Decl. ¶¶ 4-5. The CAN bus system in the 2014 Ford Escape was not even designed
16
     in California, and neither was the CAN bus system in the 2013 Ford Fusion (which is different from
17
     the CAN bus system in the 2014 Ford Escape). Pappas Decl. ¶4-5. In fact, both vehicles were
18
     designed in locations other than California. Pappas Decl. ¶3.
19
              Thus, it is certainly not the case that the Ford Plaintiffs’ “cause[s] of action would not have
20
     arisen . . . ‘but for’ the contacts between” Ford and California. Terracom, 49 F.3d at 561. Even if
21
     Ford had never sold a single vehicle to any independent California Ford dealership and even if Ford
22
     had no employees or business operations in California, Plaintiffs’ claims would be exactly the same.
23
     As a result, none of the Ford Plaintiffs can demonstrate that their claims “arose out of or were related
24
     to…[Ford’s] activities in California.” Porche, 319 Fed.Appx. 619 (affirming dismissal of lawsuit
25
     where venue was improper and the district court did not have personal or specific jurisdiction over
26
     defendant). The Ford Plaintiffs’ claims do not “arise[] out of or relate[] to [Ford’s] forum-related
27
     7
      It is worth noting that Ford does not sell vehicles to consumers. Ford sells to independently owned
28   and operated dealerships who in turn sell and/or lease vehicles to the public. Dwyer Decl. ¶ 3.
                                                        8
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1    activities,” Schwarzenegger, 374 F.3d at 802, and, therefore, specific personal jurisdiction over Ford

2    is lacking. See also Young v. Actions Semiconductor Co. Ltd., 386 F. App’x. 623, 627 (9th Cir.

3    2010); Doe v. Unocal Corp., 248 F.3d 915, 924-25 (9th Cir. 2001).

4            As this Court has neither general nor specific personal jurisdiction over Ford, the Ford

5    Plaintiffs’ claims against Ford must be dismissed. Martinez, 764 F.3d at 1066.

6    II.     The Ford Plaintiffs Lack Standing Under State Law And Article III Because They Have
             Suffered No Legally-Cognizable Injury
7
             Even if the Ford Plaintiffs could establish that the Court has jurisdiction over Ford, which it
8
     does not, the Ford Plaintiffs do not have standing to pursue their claims. The UTPA and CPA
9
     require a person to have suffered an “ascertainable loss” in order to have standing, but none of the
10
     Ford Plaintiffs have alleged (or actually suffered) such a loss. Or. Rev. Stat. § 646.638. Similarly,
11
     “[t]o establish Article III standing, a plaintiff must show” that he/she has suffered an “injury in
12
     fact”—i.e., “an injury that is concrete and particularized, and actual or imminent.” Alliance for the
13
     Wild Rockies v. U.S. Dep't of Agric., 772 F.3d 592, 598 (9th Cir. 2014). In Clapper v. Amnesty Int’l
14
     USA, the Supreme Court recently “reiterated that threatened injury must be certainly impending to
15
     constitute injury in fact, and that [a]llegations of possible future injury are not sufficient.” 133 S. Ct.
16
     1138, 1147 (2013) (quotations omitted) (emphasis in original). The Supreme Court further made
17
     clear that a plaintiff cannot “manufacture standing merely by inflicting harm on [himself] based on
18
     ... fears of hypothetical harm that is not certainly impending.” Id. at 1151. In other words,
19
     allegations that the Ford Plaintiffs are afraid that their vehicles could be hacked in the future is not a
20
     cognizable harm that satisfies standing requirements.
21
             A.      The Ford Plaintiffs Lack Standing Under State Law Because They Suffered No
22                   Loss
23           “The UTPA extends a private cause of action to ‘any person who suffers any ascertainable
24   loss of money or property’ as a result of an unlawful trade practice.” Bojorquez v. Wells Fargo
25   Bank, NA, No. 6:12-cv-02077, 2013 WL 6055258, at *7 (D. Or. Nov. 7, 2013) (quoting Or. Rev.
26   Stat. § 646.638(1)). Therefore, “[t]o state a claim under the UTPA, a plaintiff is required to plead:
27   (1) that defendant violated one or more of the[] subsections” delineated by Or. Rev. Stat. § 646.638;
28   (2) “causation (‘as a result of’); and (3) damage (‘ascertainable loss’).” Id. (quotation omitted).
                                                        9
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1    Similarly, under Washington law, a CPA claim will be dismissed if the injury alleged is too

2    speculative. See e.g., Browne, 525 F. Supp. 2d at 1255; see also Forest Glade Homeowners Ass’n v.

3    Allied Mut. Ins. Co., No. C07-1762JLR, 2009 WL 927750, at *4 (W.D. Wash. Mar. 31, 2009).

4           In this case, as noted above, the Ford Plaintiffs’ only alleged “loss” is that their vehicles are

5    theoretically “susceptible to hacking,” but the Ford Plaintiffs do not aver their vehicles – nor any

6    other Ford, Mercury, or Lincoln vehicle for that matter – have ever actually been “hacked.” (See,

7    e.g., FAC ¶¶ 1, 4-5.) Moreover, as the Ford Plaintiffs concede, the “hacking” about which they

8    complain could only conceivably occur following both: (1) illegal access to one of their vehicles,

9    and (2) a wrongful act by a third party. (See FAC ¶¶ 2, 6, 33) (Ford Plaintiffs alleging their vehicles

10   are “susceptible to hacking [by some unnamed third party] and are therefore unreasonably

11   dangerous”).

12          Strictly theoretical (but never realized) “damage” that is dependent on a future, third-party

13   (criminal) act is not the type of “ascertainable loss” contemplated by the UTPA or the CPA. Paul,

14   240 P.3d 1110, is instructive. There, plaintiffs brought a putative class action for an alleged

15   violation of the UTPA on behalf of patients of a defendant medical provider, after defendant’s

16   employee left computer disks and tapes containing class members’ medical and financial records in

17   his car and they were stolen. Id. at 1112. Plaintiffs alleged that defendant violated the UTPA

18   because defendant “represented, in offering medical services and products for sale, that it would

19   keep patients’ private information confidential,” but because the defendant allegedly did not have

20   procedures and practices in place to protect against the loss by theft of that information, “patient

21   records … and, thus, defendant’s services were not of the standard or quality represented.” Id. at

22   1120. The court rejected plaintiffs’ claims, however, finding that they only had been “threatened

23   with a loss of money or property due to the theft of their financial data . . .” not that such loss had

24   actually occurred. Id. at 1121 (emphasis in original). Accordingly, the court affirmed dismissal of

25   plaintiffs’ UTPA claim for lack of ascertainable loss. Id. at 1122.

26          In this case, the Ford Plaintiffs’ purported “loss” is even more attenuated than that of

27   plaintiffs in Paul because in this case, each received the full benefit of his/her bargain – a fully

28   functioning vehicle with an entirely operational CAN bus. (FAC ¶¶ 13, 15). The Ford Plaintiffs’

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1    UTPA and CPA claims – like all of their other claims against Ford – fail for lack of any

2    ascertainable loss (i.e., injury) and must be dismissed.

3            B.      The Ford Plaintiffs Fail To Allege A Cognizable “Injury In Fact”

4            Standing likewise founders because the Ford Plaintiffs do not, and cannot, allege they have

5    been injured. Like the Supreme Court, the Ninth Circuit has rejected attempts to base Article III

6    standing on remote, conjectural, hypothetical, or speculative harms. For example, the Ninth Circuit

7    held that plaintiffs lacked Article III standing to pursue claims that the Apple iPod was “defective”

8    because it “pose[d] an unreasonable risk of noise-induced hearing loss to its users.” Birdsong v.

9    Apple, Inc., 590 F.3d 955, 956 (9th Cir. 2009). It explained that “[a]t most, the plaintiffs plead a

10   potential risk of hearing loss not to themselves, but to other unidentified iPod users who might

11   choose to use their iPods in an unsafe manner[,]” and therefore, “[t]he risk of injury the plaintiffs

12   allege is not concrete and particularized as to themselves.” Id. at 962 and n. 4; see also Krottner v.

13   Starbucks Corp., 628 F.3d 1139, 1143 (9th Cir. 2010) (concluding that although employees whose

14   personal information was stolen had adequately alleged a greater risk of identity theft that was

15   neither conjectural nor hypothetical, “if no laptop had been stolen, and Plaintiffs had sued based on

16   the risk that it would be stolen at some point in the future,” the court “would find the threat far less

17   credible” and insufficient to confer Article III standing); Yunker v. Pandora Media Inc.,

18   No. 11−03113−JSW, 2013 WL 1282980, at *5 (N.D. Cal. Mar. 26, 2013) (reasoning that because

19   “the possibility of future harm is insufficient to establish standing,” a plaintiff lacks Article III

20   standing where he “at best alleges facts that show it might be possible that, in the future, he could be

21   the victim of identity theft.”)

22           Like the plaintiffs in Clapper, Birdsong, Krottner and Yunker, the Ford Plaintiffs allege

23   “harm” that is hypothetical at best. Ford Plaintiffs allege that “if an outside source, such as a hacker,

24   were able to send CAN packets to ECUs on a vehicle’s CAN bus unit, the hacker could confuse one

25   or more ECUs and thereby, either temporarily or permanently, take control of basic functions of the

26   vehicle away from the driver.” FAC ¶ 4 (emphasis supplied). But the Ford Plaintiffs cannot point to

27   any actual incident where anyone obtained such unlawful access to their vehicles (let alone to any

28
                                                       11
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1    putative class vehicles) and “confused one or more ECUs.”8 In other words, the Ford Plaintiffs’

2    claims all are grounded in purely theoretical, general allegations that their vehicles might one day be

3    “infiltrated and taken over” by third parties, harm that could only occur (if at all) if third parties

4    somehow gained unlawful access to the proposed class vehicles at some point in the future. (FAC ¶

5    1.)

6             C.     The Ford Plaintiffs Fail To (And Cannot) Allege A Viable “Causal Link”
                     Between Their Hypothetical Injury And Ford’s Alleged Conduct
7
              Even if the Ford Plaintiffs had alleged “concrete and particularized harm,” which they do not,
8
     in order to satisfy the standing requirement, plaintiffs must also plead a “line of causation” between
9
     the defendant’s conduct and the plaintiff’s injury. Maya v. Centex Corp., 658 F.3d 1060, 1070 (9th
10
     Cir. 2011); see also Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992) (“[T]here must be a
11
     causal connection between the injury and the conduct complained of – the injury has to be ‘fairly . . .
12
     trace[able] to the challenged action of the defendant, and not . . . th[e] result [of] the independent
13
     action of some third party not before the court.”’) (quoting Simon v. E. Ky. Welfare Rights Org., 426
14
     U.S. 26, 41-42 (1976)). A plaintiff may not satisfy this “threshold” inquiry by engaging in an
15
     “ingenious academic exercise in the conceivable.” Maya, 658 F.3d at 1068.
16
              Here, the Ford Plaintiffs cannot possibly demonstrate the necessary causal link between their
17
     speculative injury and Ford’s conduct because the alleged harm could only occur “if an outside
18
19   8
      Ford anticipates that in response to its argument that the Ford Plaintiffs have failed to allege that
     any vehicle has been compromised in the manner alleged in the FAC, the Ford Plaintiffs will point to
20   the television news story about Plaintiffs Gibbs/Langdon’s pre-owned 2013 Ford Fusion. FAC ¶ 15
     n.3. But this is an entirely different, and unrelated, situation. According to the news story, Plaintiffs
21   Gibbs/Langdon’s vehicle was accessed by a previous owner by using his login credentials as a result
     of his failing to delete his credentials prior to sale of the vehicle to Gibbs/Langdon. Putting aside the
22   impropriety of a previous owner affirmatively accessing a vehicle he no longer owns (no different
     than if he had simply kept a spare key and unlocked the door), the incident was by no means the
23   result of a stranger “hacking” into the CAN bus unit. Id. Moreover, this type of access can easily be
     prevented. In fact, the 2013 Ford Fusion Owner Manual explains exactly how to delete all previous
24   access to the vehicle. Dwyer Decl. ¶ 6 and Ex. A, p. 136 (“[w]e recommend that upon the sale or
     lease termination of your vehicle, you erase the programmed function buttons for security reasons);
25   p. 299 (“[t]he cellular profile, media device index and development log will remain in the vehicle
     unless you delete them…. If you no longer plan to use the system or the vehicle, we recommend you
26   perform a Master Reset to erase all stored information”); and p. 328 (directions for doing a Master
     Reset). The Ford Plaintiffs cannot legitimately argue that Ford should be responsible for the
27   potential compromised security of a used vehicle sold on the secondary market when they
     themselves failed to undertake the steps specifically identified in the owner’s manual that would
28   protect them against the very compromised security of which they complain.
                                                       12
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1    source, such as a hacker,” FAC ¶ 4, committed a criminal and tortious act with malicious intent.9 In

2    analogous circumstances, federal courts have consistently found standing lacking. For example, in

3    U.S. Hotel & Resort Mgmt., Inc. v. Onity Inc., No. 13−1499, 2014 WL 3748639 (D. Minn. July 30,

4    2014), an engineer published a study demonstrating a method for breaching the locks of hotel doors

5    using a “homemade opening device, created with readily available and store-bought parts.” Id.

6    After learning of the study, hotel owners filed suit against the lock manufacturer, claiming as their

7    injury the heightened risk of unauthorized entry into their hotel rooms in the future. The District

8    Court rejected this claimed “injury” as sufficient to confer Article III standing:

9                 [T]he fact remains that no such unauthorized entry could occur unless and until
                  that third party acted with criminal intent to gain entry. But where the future
10                injury is contingent upon the actions of another, the Supreme Court has declined
                  ‘to abandon [its] usual reluctance to endorse standing theories that rest on
11                speculation about the decisions of independent actors’ not before the court.
12   2014 WL 3748639, at *4 (quoting Clapper, 133 S. Ct. at 1150); see also Reilly v. Ceridian Corp., 664
13   F.3d 38 (3d Cir. 2011) (“[W]e cannot now describe how [plaintiffs] will be injured in this case
14   without beginning our explanation with the word ‘if’: if the hacker read, copied, and understood the
15   hacked information, and if the hacker attempts to use the information, and if he does so successfully,
16   only then will Appellants have suffered an injury”).10 In sum, the Ford Plaintiffs’ claims should also
17   be dismissed for lack of standing.
18   III.     THE FORD PLAINTIFFS’ CLAIMS SHOULD BE DISMISSED FOR FAILURE TO
              STATE A CLAIM
19
              All of the Ford Plaintiffs’ claims are infirm under applicable state and federal law, but even if
20
     they were not, Plaintiff Tompulis’ Oregon-based claims and Plaintiff Gibbs and Langdon’s
21
22   9
       See, e.g., 18 U.S.C. § 1030 (Computer Fraud and Abuse Act outlaws third party hacking, such as
     “intentionally access[ing] a computer without authorization [] and thereby obtains [] information
23   from any protected computer,” or “intentionally access[ing] a protected computer without
     authorization, and as a result of such conduct, recklessly causes damage”); Cal. Penal Code § 502
24   (California Comprehensive Computer Data Access & Fraud Act criminalizes third-party acts that
     “tamper[], interfere[], damage, and [provide] unauthorized access to lawfully created computer data
25   and computer systems”).
     10
        See also, e.g., In re Horizon Healthcare Servs., Inc. Data Breach Litig., No. 13−7418, 2015 WL
26   1472483, at *6 (D.N.J. Mar. 31, 2015) (“Plaintiffs’ future injuries stem from the conjectural conduct
     of a third party bandit and are therefore inadequate to confer standing.”) (emphasis added); Galaria
27   v. Nationwide Mut. Ins. Co., 998 F. Supp. 2d 646, 657 (S.D. Ohio 2014) (“[T]he increased risk that
     Plaintiffs will be victims of identity theft, identity fraud, medical fraud, or phishing at some
28   indeterminate point in the future does not constitute injury sufficient to confer standing … .”).
                                                       13
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1    Washington-based claims also should be dismissed because they fail to state claims pursuant to

2    Federal Rules 8, 9(b), and 12(b)(6). Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); Kearns v.

3    Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009).11

4           A.      “Ascertainable Loss” Is An Essential Element Of UTPA And CPA Claims
                    Lacking Here
5
            Even if the Court determines that the Ford Plaintiffs have standing under state law to bring
6
     UTPA and CPA claims, the claims must still be dismissed because the Ford Plaintiffs do not (and
7
     cannot) plead they suffered an “ascertainable loss,” an essential element to state a claim under both
8
     laws. Strictly theoretical (but never realized) “damage” that is dependent on a future, third-party
9
     (criminal) act is not the type of “ascertainable loss” contemplated by the UTPA or the CPA. See
10
     Paul v. Providence Health Sys.-Oregon, 240 P.3d 1110 (Or. Ct. App. 2010); Browne v. Avvo, Inc.,
11
     525 F. Supp. 2d 1249 (W.D. Wash. 2007); disc. supra at 9-10.
12
            B.      The Ford Plaintiffs Cannot State a Claim Against Ford For Breach of Implied
13                  Warranty of Merchantability Under Oregon or Washington Law

14          The Ford Plaintiffs’ breach of implied warranty of merchantability claims under Oregon and

15   Washington law should be dismissed because the Ford Plaintiffs are not in privity with Ford, a

16
     11
        A Rule 12(b)(6) motion to dismiss should be granted if a plaintiff is unable to articulate “enough
17   facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,
     570 (2007). “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’
18   requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of
     action will not do.” Id. at 555. “Nor does a complaint suffice if it tenders ‘naked assertion[s]’
19   devoid of ‘further factual enhancement.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
     Twombly, 550 U.S. at 557). The Court is “not required to accept as true conclusory allegations
20   which are contradicted by documents referred to in the complaint,” Sprewell v. Golden State
     Warriors, 266 F.3d 979, 990 (9th Cir. 2001) (citations omitted), or any “unwarranted inferences.”
21   Fields v. Legacy Health Sys., 413 F.3d 943, 950 n.5 (9th Cir. 2005). Additionally, claims sounding
     in fraud must be pled with particularity pursuant to Federal Rule of Civil Procedure 9(b). “‘Rule
22   9(b) demands that the circumstances constituting the alleged fraud be specific enough to give
     defendants notice of the particular misconduct . . . so that they can defend against the charge and not
23   just deny that they have done anything wrong.’” Avenue Lofts Condos. Owners’ Assn. v. Victaulic
     Co., 24 F. Supp. 3d 1010, 1020 (D. Or. 2014) (quoting Kearns, 567 F.3d at 1124); see also
24   Schweickert v. Hunts Point Ventures, Inc., No. 13-cv-675RSM, 2014 WL 6886630, *3 (W.D. Wash.
     Dec. 4, 2014). “‘Averments of fraud must be accompanied by the who, what, when, where, and how
25   of the misconduct charged. A party alleging fraud must set forth more than the neutral facts
     necessary to identify the transaction.’” Avenue Lofts Condos. Owners’ Assn., 24 F. Supp. 3d at 1020
26   (citations omitted); see also Schweickert, 2014 WL 6886630 at *3. Moreover, a plaintiff alleging
     fraudulent concealment must still satisfy Rule 9(b) particularity. See Bias v. Wells Fargo & Co., 942
27   F. Supp. 2d 915, 935 (N.D. Cal. 2013) (“Although Plaintiffs’ allegations do allege a fraud based in
     part on omissions, a plaintiff must still plead such claim with particularity”); Baughn v. Johnson &
28   Johnson, No. C15-5283 BHS, 2015 WL 4759151 (W.D. Wa. Aug. 12, 2015) (same).
                                                      14
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1    requirement to state a breach of implied warranty of merchantability claim for economic loss under

2    both Oregon and Washington law. See Dravo Equip. Co. v. German, 698 P.2d 63, 65 (Or. Ct. App.

3    1985) (“privity of contract is essential before a purchaser can recover economic loss from a

4    manufacturer for breach of an implied warranty”); Colvin, 604 P.2d at 160 (“While the Supreme

5    Court has not spoken to the question of whether privity is a prerequisite to liability in cases of

6    Personal injury, it has spoken clearly to the same question where only Economic injury is alleged:

7    privity is necessary.”); Babb, 186 Wash. App. at 1003 (finding that breach of implied warranty

8    claims against boat manufacturer should be dismissed because “[l]ack of contractual privity has

9    historically been a defense to claims of breach of warranty,” including claims for breach of implied

10   warranty of merchantability based on allegations that plaintiffs were third-party beneficiaries).

11   Plaintiff Tompulis claims to have leased her Ford vehicle from an Oregon dealership. (FAC ¶ 13.)

12   Plaintiffs Gibbs and Langdon claim they purchased a pre-owned vehicle from a Washington

13   dealership. (FAC ¶ 14.) Dealerships are businesses that are entirely independent from Ford, and

14   Ford does not sell vehicles to consumers directly. See Dwyer Decl. ¶ 3. As such, the Ford Plaintiffs

15   are not in privity with Ford, and their breach of implied warranty of merchantability claims fail.

16   Colvin, 604 P.2d at 160; Babb, 186 Wash.App. at 1003.

17          Additionally, Plaintiff Tompulis’ implied warranty claim should be dismissed because under

18   Oregon law, “notice is an essential element of [a] plaintiff’s” breach of implied warranty of

19   merchantability claim. Redfield v. Mead, Johnson & Co., 512 P.2d 776, 781 (Or. 1973); accord

20   Allen v. G.D. Searle & Co., 708 F. Supp. 1142, 1160 (D. Or. 1989) (“in the absence of any evidence

21   that [plaintiff] gave notice of her express or implied warranty claims, this court must rule that

22   [plaintiff] has not established an essential element of her warranty claims.”). Here, Plaintiff

23   Tompulis did not provide notice of her claim prior to filing this lawsuit. (See FAC ¶ 154.) And

24   while Plaintiff Tompulis contends that the filing of the FAC itself “provided notice,” (id.), that

25   argument has been flatly rejected by courts construing Oregon law. See, e.g., Parkinson v. Novartis

26   Pharms. Corp., 5 F. Supp. 3d 1265, 1277 (D. Or. 2014) (granting summary judgment for defendant

27   on breach of warranty claims for lack of notice, because “to the extent that Plaintiff asserts

28   commencement of this action constituted notice . . ., the Court notes this argument has been rejected

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1    by several courts”).12 The Ford Plaintiffs’ implied warranty claims must be dismissed.

2           C.      The Ford Plaintiffs Fail To Plead Fraudulent Concealment Under Oregon And
                    Washington Law With The Particularity Required By Rule 9(b)
3
            The Ford Plaintiffs additionally fail to state a claim for fraudulent concealment under either
4
     Oregon or Washington law because they have not alleged their claims with the specificity required
5
     by Federal Rule 9(b).13 Rather, they make conclusory allegations that Ford “intentionally concealed
6
     the above-described material safety and functionality information, or acted with reckless disregard
7
     for the truth, and denied Plaintiff and the other Class members’ [sic] information that is highly
8
     relevant to their purchasing decision,” (FAC ¶¶ 159, 191), and that Ford “further affirmatively
9
     misrepresented to Plaintiffs in advertising and other forms of communication, including standard and
10
     uniform material provided with each car, that the Class Vehicles they were selling were new, had no
11
     significant defects, and would perform and operate properly when driven in normal usage.” (Id. ¶¶
12
     159, 192.)
13
            But the Ford Plaintiffs offer no details regarding their vehicle purchases pertinent to
14
     establishing fraud. Nor do they set forth what specific “advertising and other forms of
15
     communication” they ever received, reviewed, or relied on that contained any misrepresentation or
16
     omission, or what specific statements were allegedly fraudulent pertaining to the CAN bus. The
17
     only Ford materials and representations referred to anywhere in the FAC are (1) a non-specific
18
     reference to an “owner’s manual and warranty booklets, advertisements, and other promotional
19
     materials,” (id. ¶ 23) and (2) two references to “safety” that appear on Ford’s websites for the Ford
20
     Fusion and Ford Focus, (id. ¶¶ 45-46), neither of which Plaintiffs ever allegedly viewed (and indeed,
21
     none of the Ford Plaintiffs purchased or leased a Ford Focus). (Id. ¶¶ 13,15.)
22
23   12
        Plaintiffs Gibbs and Langdon also assert a claim for “Breach of Contract/Common Law Warranty”
24   under Washington law. Although it is not entirely clear what claim they are asserting, Ford was
     unable to locate any cases addressing “common law warrant[ies]” under Washington law. But even
25   if Washington did recognize a claim for “Common Law Warranty,” that claim would fail for the
     same reasons as their implied warranty claim.
26   13
        As set forth above, a plaintiff alleging fraudulent concealment must still satisfy Rule 9(b)
     particularity. See Baughn, 2015 WL 4759151 at *3 (holding that a fraudulent concealment under
27   Washington law must satisfy Rule 9(b)’s heightened pleading standard); Avenue Lofts Condos.
     Owners’ Assn., 24 F. Supp. 3d at 1020 (dismissing fraudulent misrepresentation and concealment
28   claims under Oregon law for failure to meet Rule 9(b)).
                                                     16
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1            These scant references do not suffice to state a claim for fraudulent concealment pursuant to

2    Rule 9(b). Rather, to plead the circumstances of omission with sufficient specificity, a plaintiff

3            must describe the content of the omission and where the omitted information
             should or could have been revealed, as well as provide representative samples of
4            advertisements, offers, or other representations that plaintiffs relied on to make
             their purchases and that failed to include the allegedly omitted information.
5            Plaintiffs’ complaint should also include samples of materials documenting . . .
6            purchases that leave out the essential information . . .
     Marolda v Symantec Corp., 672 F. Supp. 2d 992, 1002 (N.D. Cal. 2009); accord Baughn, 2015 WL
7
     4759151, at *3; see also, e.g., Kearns, 567 F.3d 1126. The Ford Plaintiffs’ fraud-based claims must
8
     be dismissed.
9
     IV.     THE FORD PLAINTIFFS’ CLAIMS ARE PREEMPTED AND/OR FORECLOSED
10           BY STATE LAW
11           The Ford Plaintiffs’ claims should also be dismissed because, as pled, they are preempted
12   and/or barred by state law. Federal preemption stems from the constitutional provision that the laws
13   of the United States are the supreme law of the land. U.S. Const., art. VI, cl. 2. The intent of
14   Congress to preempt state law “may be explicitly stated in the statute’s language or implicitly
15   contained in its structure and purpose.” Cipollone v. Liggett Group, Inc., 505 U.S. 504, 516 (1992)
16   (internal quotations omitted). Implied conflict preemption will be found when an actual conflict
17   exists between state and federal law, Geier v. Am. Honda Motor Co., Inc., 529 U.S. 861, 873 (2000),
18   or when state law “stands as an obstacle to the accomplishment and execution of the full purposes
19   and objectives of Congress.” Capital Cities Cable, Inc. v. Crisp, 467 U.S. 691, 698-99 (1984). With
20   regard to the latter, “[i]f the purpose of the act cannot otherwise be accomplished . . . the state law
21   must yield to the regulation of Congress within the sphere of its delegated power.” Hines v.
22   Davidowitz, 312 U.S. 52, 67 n.20 (1941) (internal quotations omitted); see also Geier, 529 U.S. at
23   873 (obstacles exist where state law presents “difference; irreconcilability; inconsistency; violation;
24   curtailment . . . ; interference, or the like” with federal law) (internal quotations omitted).
25           The Ford Plaintiffs’ claims depend upon the premise that Ford broke the law by failing to
26   prevent third-party access to the CAN bus units of all “current and former owners and/or lessees of .
27   . . Ford Vehicles . . . equipped with computerized components that are connected via a controller
28   area network to an integrated cell phone or Class 1 or Class 2 master Bluetooth device.” (FAC ¶ 9.)
                                                       17
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1    In fact, Ford would have violated the law had it not provided the access that the Ford Plaintiffs are

2    now trying to claim is actionable. Because Ford has a duty under federal and state law to allow

3    third-party access to vehicles’ CAN bus units, Plaintiffs’ claims are preempted. See, e.g., CAL.

4    CODE REGS. tit. 13, § 1968.9; MASS. GEN. LAWS ch. 93K, § 2 (2013); Geier, 529 U.S. at 884.

5           A.      The Clean Air Act Amendments Of 1990 Require Ford To Permit Access To
                    Vehicles’ CAN Bus Units
6
            The House Energy and Commerce Committee approved amendments to Clean Air Act
7
     legislation (“1990 Amendments”) that require all 1994 and later vehicles to be equipped with
8
     computer systems that monitor and control nearly every emissions-related function (i.e., what is now
9
     the CAN bus). 40 C.F.R. § 86.094 et seq. As currently implemented, the 1990 Amendments and
10
     implementing regulations not only require access to the CAN bus, they also require car companies to
11
     make all emissions-related information available over websites that are accessible to third parties,
12
     and to also make their emissions-related diagnostic tools available to all. Id. In point of fact, all
13
     information that is made available either directly or indirectly to an authorized dealer must be made
14
     available to third parties (including, but is not limited to, service manuals, technical service bulletins,
15
     recall service information, data stream information, bi-directional control information and training
16
     information). 40 C.F.R. §86.094-38(g)(1). “Emission-related information” is defined broadly to
17
     include (but is not limited to): (1) information “regarding any system, component or part of a
18
     vehicle that controls emissions and any system, components and/or parts associated with the
19
     powertrain system, including, but not limited to, the fuel system and ignition system”; (2)
20
     information “for any system, component or part that is likely to impact emissions, such as
21
     transmission systems”; and (3) “[a]ny other information specified by the Administrator to be
22
     relevant for the diagnosis and repair of an emission failure … .” 40 C.F.R. § 86.094-38(g)(2)(i)-(iii).
23
     Most of the foregoing information is stored in a vehicle’s CAN bus system.
24
            B.      State Law Also Requires Ford To Permit CAN Bus Access
25
            Likewise, state laws also require that Ford give third parties access not only to vehicles’
26
     CAN bus systems, but also all training, service and diagnostic tools and information related thereto.
27
     For example, under California law, “[m]otor vehicle manufacturers .. shall make available for
28
                                                       18
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1    purchase to all covered persons,14 a general description of each OBD system used in 1996 and

2    subsequent model year passenger cars … which shall include,” inter alia: (1) a description of the

3    operation of each monitor; (2) a listing of typical OBD diagnostic trouble codes associated with each

4    monitor; and (3) a description of the typical enabling conditions for each monitor to execute during

5    vehicle or engine operation. CAL. CODE REGS. tit. 13, § 1968.9(e)(1), (e)(2) The law of

6    Massachusetts is equally clear: “each manufacturer of motor vehicles sold in the commonwealth

7    shall make available for purchase by owners and independent repair facilities all diagnostic repair

8    tools incorporating the same diagnostic, repair and wireless capabilities that such manufacturer

9    makes available to dealers.” MASS. GEN. LAWS ch. 93K, § 2 (2013) (emphasis supplied). Ford

10   cannot be held liable under state tort, warranty, and consumer protection statutes for complying with

11   state and federal laws requiring broad CAN-bus access.15 See, e.g., CAL. CODE REGS. tit. 13, §

12   1968.9; MASS. GEN. LAWS ch. 93K, § 2 (2013). Because the Ford Plaintiffs’ claims depend on

13   the Court finding as a threshold matter Ford’s legally-required conduct to be wrongful, the Ford

14   Plaintiffs’ claims fail as a matter of law. Geier, 529 U.S. at 884.

15                                            CONCLUSION

16             For the reasons set forth herein, Ford respectfully requests the Court dismiss the claims

17   against Ford. Ford respectfully requests such other, further relief the Court deems appropriate.

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26   14
        A “covered person” includes “any person” who is engaged in the business of service or repair of
     passenger cars … .” CAL. CODE REGS. tit. 13, § 1968 (d)(4).
27   15
        To be clear, Ford is not asserting that California or Washington law applies to the Ford Plaintiffs’
     claims, only that California and Washington law, among other states, require Ford to allow third-
28   party access to vehicles’ CAN bus systems.
                                                       19
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1    Date: August 28, 2015                    Respectfully Submitted,

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1                        CERTIFICATE OF SERVICE VIA CM/ECF SYSTEM

2           The undersigned certifies that on August 28, 2015, a true and correct copy of the following
     document was electronically filed and served on all counsel of record who are deemed to have
3    consented to electronic service via the Court’s CM-ECF system:

4    NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’ COMPLAINT;
     MEMORANDUM OF POINTS AND AUTHORITIES
5
             Pursuant to CM/ECF system, registration as a CM/ECF user constitutes consent to electronic
6    service through the Court’s transmission facilities. Any other counsel of record will be served by
     electronic mail and U.S. mail.
7
8                                                        /s/Livia M. Kiser

9                                                      Counsel for Defendant

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